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           IN THE UNITED STATES DISTRICT COURT FOR THE
                    SOUTHERN DISTRICT OF OHIO

  STATE OF OHIO,                          :
               Plaintiff,                 :
                                          :     Case No. 1:21-cv-181-DRC
  v.
                                          :
  JANET YELLEN, in her official           :     District Judge Douglas R. Cole
  capacity as Secretary of the            :
  Treasury; RICHARD K. DELMAR,            :
  in his official capacity as acting      :
  inspector general of the Department     :
  of Treasury; and U.S.                   :
  DEPARTMENT OF THE                       :
  TREASURY,                               :
               Defendants.                :



           EMERGENCY MOTION TO EXPEDITE PROCEEDINGS


      The Court’s opinion and order on Ohio’s request for a preliminary injunction

recognizes that Ohio is being irreparably harmed by the absence of clarity regarding

the Tax Mandate’s constitutionality. See Op., R.36, PageID#566–67. In hopes of ob-

taining that clarity, Ohio respectfully requests an expedited decision on its request

for permanent-injunctive relief and a declaratory judgment. This case presents

purely legal issues, meaning the parties do not need discovery. And because most of

the issues have been fully briefed already, the parties do not need any considerable

amount of time to file briefing on the remaining issues. Ohio respectfully requests a

final judgment by June 4. To that end, it proposes the following briefing schedule:

      •   Ohio’s brief in support of a permanent injunction and declaratory re-
          lief: May 19

      •   The defendants’ response in opposition to a permanent injunction
          and declaratory relief: May 26
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      •   Ohio’s reply brief: May 28.

      Ohio requests a decision by June 4 because it believes this will provide the

Court and the parties with adequate time to review the remaining issues, while still

providing Ohio with important and timely clarification during its ongoing budget pro-

cess. Counsel for Ohio contacted counsel for defendants, who was unable to consent

or oppose the proposed schedule at this time.

      .

                                   Respectfully submitted,

                                   DAVE YOST (0056290)
                                   Ohio Attorney General

                                   /s/ Benjamin M. Flowers
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                                   Counsel for the State of Ohio
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                          CERTIFICATE OF SERVICE

      I hereby certify that on May 12, 2021 a copy of the foregoing pleading was filed

electronically. Notice of this filing will be sent to all parties for whom counsel has

entered an appearance by operation of the Court’s electronic filing system.


                                    /s/ Benjamin Flowers
                                    BENJAMIN M. FLOWERS* (0095284)
                                    Solicitor General
                                     *Trial Attorney
